Case 2:08-cr-00080-SRC       Document 83      Filed 03/18/11    Page 1 of 2 PageID: 254




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA                 :      Hon. Stanley R. Chesler,U.S.DJ.

             v.                          :      Crim. No. o8-oo8o (SRC)

JUAN POLANCO                             :      ORDER

             This matter having been opened to the Court by the United States (Paul
Fishman, United States Attorney, by David Foster, Assistant U.S. Attorney, appearing),
for an Order revoking the previously imposed term of probation for defendant Juan
Polanco, (Curtis LaForge esq., appearing), and for good and sufficient cause shown
                                                                                       ,

             WHEREFORE, it is on this day of March, 2011:

             IT IS THE FINDING OF THIS COURT that a revocation of probation
             hearing shall be held on June 2, 2011

            ORDERED that until the revocation of probation hearing on June 2, 2011
           the defendant Juan Polanco’s bail conditions shall be set as follows


            i. Defendant shall be confined to the home located at 127 Parker
                                                                               street, 1
                                                                                       st


              floor, Newark, New Jersey 07104.


            2. Defendant shall only be allowed to leave the home for attorney visits,
              doctor visits, religious obligations and any other reason approved by
              probation.


            3. Defendant shall be placed on electronic monitoring.


            4. Defendant shall not travel outside of the state of New Jersey without
               approval from probation.
Case 2:08-cr-00080-SRC    Document 83      Filed 03/18/11   Page 2 of 2 PageID: 255




           5. Defendant shall submit to drug testing as required by probation.




                                      UNITED STATES DISTRICT COURT JUDGE




                                     JUAN POLANCO
